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18   Counterclaimant and Third-Party Plaintiff
     NATIONAL FIRE & MARINE INSURANCE COMPANY
19

20                            UNITED STATES DISTRICT COURT

21                                 DISTRICT OF NEVADA

22   PN II, INC. dba PULTE HOMES and/or DEL     Case No. 2:20-cv-01383-ART-BNW
     WEBB, a Nevada corporation,
23                                    STIPULATION AND [PROPOSED]
                 Plaintiff,           ORDER TO EXTEND BRIEFING
24   v.                               SCHEDULE REGARDING NATIONAL
                                      FIRE & MARINE INSURANCE
25   NATIONAL FIRE & MARINE INSURANCE COMPANY’S MOTION TO REOPEN
     COMPANY; and DOES 1 through 100, DISCOVERY (ECF 185) AND PN II,
26
     inclusive,                       INC.’S MOTION IN LIMINE TO
27                                    EXCLUDE TOM MORTLAND (ECF 184)
                Defendants.
28
         STIPULATION AND [PROPOSED] ORDER TO EXTEND BRIEFING SCHEDULE REGARDING
                  NATIONAL FIRE’S MOTION TO REOPEN DISCOVERY (ECF 185) AND
               PN II, INC.’S MOTION IN LIMINE TO EXCLUDE TOM MORTLAND (ECF 184)
                                                               Case No. 2:20-cv-01383-ART-BNW
           Case 2:20-cv-01383-ART-BNW          Document 192      Filed 03/31/25    Page 2 of 9




     NATIONAL FIRE & MARINE                         Dept.:               4B
 1                                                  Judge:               Hon. Anne R. Traum
     INSURANCE COMPANY, a Nebraska
 2   insurance company,                             Complaint filed:     July 24, 2020
                                                    Trial Date:          Not set
 3                   Counter-Claimant,
     v.
 4
     PN II, INC. dba PULTE HOMES and/or DEL
 5   WEBB, a Nevada corporation,
 6
                     Counter-Defendant.
 7
     NATIONAL FIRE & MARINE INSURANCE
 8   COMPANY, a Nebraska insurance company,
 9                   Third-Party Plaintiff,
10
     v.
11
     PN II, dba PULTE HOMES and/or DEL
12   WEBB, a Nevada corporation;
     CONTRACTORS INSURANCE COMPANY
13   OF NORTH AMERICA, INC., a Hawaii
     corporation,
14
                     Third-Party Defendants.
15

16

17   TO THE HONORABLE COURT, AND TO ALL PARTIES AND THEIR ATTORNEYS

18   OF RECORD:

19           Plaintiffs/Counter-Defendants PN II, Inc. dba Pulte Homes and Del Webb (“Pulte”),

20   Defendant/Counter-Claimant/Third-Party Plaintiff National Fire & Marine Insurance Company

21   (“National Fire”), and Third-Party Defendant Contactors Insurance Company of North America

22   (“CICNA”), by and through their respective counsel of record, hereby stipulate to extend the

23   responses and replies to the following motions: (1) National Fire’s Motion to Reopen Discovery

24   To Allow Depositions of Two Individuals filed on March 24, 2025, ECF 185 and (2) Pulte’s

25   Motion in Limine To Exclude Tom Mortland as a Trial Witness filed on March 24, 2025, ECF

26   184.

27   ///

28
            STIPULATION AND [PROPOSED] ORDER TO EXTEND BRIEFING SCHEDULE REGARDING
                     NATIONAL FIRE’S MOTION TO REOPEN DISCOVERY (ECF 185) AND
                  PN II, INC.’S MOTION IN LIMINE TO EXCLUDE TOM MORTLAND (ECF 184)
                                                   1          Case No. 2:20-cv-01383-ART-BNW
        Case 2:20-cv-01383-ART-BNW             Document 192        Filed 03/31/25      Page 3 of 9




 1          Per the agreement of the parties, oppositions currently due on April 7, 2025, will be
 2   extended to April 14, 2025, and the deadline for replies will be extended to April 28, 2025.
 3          The parties have met and conferred regarding their respective schedules and agreed to
 4   extend these deadlines because of the significance of each of the motions and due to the parties’
 5   schedules.
 6          In accordance with LR IA 6-1, there have been no prior extensions solely to extend the
 7   briefing on National Fire’s Motion to Reopen Discovery or to extend the briefing on Pulte’s
 8   Motion in Limine to Exclude Tom Mortland.
 9

10   IT IS SO STIPULATED.
11   DATED: March 28, 2025                          PAYNE & FEARS LLP

12

13                                                                 /s/ Sarah J. Odia
                                                                    Scott S. Thomas
14                                                                   Sarah J. Odia
                                                                  Daniel L. Rasmussen
15                                                                 Camilla J. Dudley
16                                                  Attorneys for Plaintiff/Counter-Defendant PN II,
17                                                  Inc.

18

19

20   DATED: March 28, 2025                          GIBSON, DUNN & CRUTCHER LLP

21
                                                                 /s/ Deborah L. Stein
22
                                                                  Marcellus A. McRae
23                                                                   Deborah L. Stein

24                                                  Attorneys for Defendant, Counterclaimant
                                                    and Third-Party Plaintiff National Fire &
25                                                  Marine Insurance Company
26

27

28
          STIPULATION AND [PROPOSED] ORDER TO EXTEND BRIEFING SCHEDULE REGARDING
                   NATIONAL FIRE’S MOTION TO REOPEN DISCOVERY (ECF 185) AND
                PN II, INC.’S MOTION IN LIMINE TO EXCLUDE TOM MORTLAND (ECF 184)
                                                 2          Case No. 2:20-cv-01383-ART-BNW
       Case 2:20-cv-01383-ART-BNW          Document 192      Filed 03/31/25       Page 4 of 9




 1   DATED: March 28, 2025                    NICOLAIDES FINK THORPE MICHAELIDES
                                              SULLIVAN LLP
 2

 3                                                            /s/ Dawn A. Hove
                                                                Dawn A. Hove
 4                                                            Jeff N. Labovitch
 5
                                               Attorneys for Defendant, Counterclaimant
 6                                             and Third-Party Plaintiff National Fire &
                                               Marine Insurance Company
 7

 8

 9   DATED: March 28, 2025                    BROWN, BONN & FRIEDMAN, LLP

10
                                                           /s/ Thomas Freidman
11
                                                               Thomas Freidman
12
                                               Attorneys for Defendant, Counterclaimant
13                                             and Third-Party Plaintiff National Fire &
                                               Marine Insurance Company
14

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         STIPULATION AND [PROPOSED] ORDER TO EXTEND BRIEFING SCHEDULE REGARDING
                  NATIONAL FIRE’S MOTION TO REOPEN DISCOVERY (ECF 185) AND
               PN II, INC.’S MOTION IN LIMINE TO EXCLUDE TOM MORTLAND (ECF 184)
                                                3          Case No. 2:20-cv-01383-ART-BNW
       Case 2:20-cv-01383-ART-BNW          Document 192      Filed 03/31/25      Page 5 of 9




 1   DATED: March 28, 2025                     MRV LAW, INC.

 2

 3                                                         /s/ Mark R. VonderHaar
                                                             Mark R. VonderHaar
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                                               Attorneys for Defendant, Counterclaimant
 5                                             Contactors Insurance Company of North
                                               America
 6

 7

 8

 9   DATED: March 28, 2025                     LEE LANDRUM & INGLE

10
                                                             /s/ Natasha Landrum
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                                                               Natasha Landrum
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                                               Attorneys for Defendant, Counterclaimant
13                                             Contactors Insurance Company of North
                                               America
14

15

16   DATED: March 28, 2025                    FARELLA BRAUN MARTEL
17

18                                                           /s/ Amy B. Briggs
                                                                Amy B. Briggs
19
                                               Attorneys for Defendant, Counterclaimant
20                                             Contactors Insurance Company of North
21                                             America (pro hac vice application pending)

22

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         STIPULATION AND [PROPOSED] ORDER TO EXTEND BRIEFING SCHEDULE REGARDING
                  NATIONAL FIRE’S MOTION TO REOPEN DISCOVERY (ECF 185) AND
               PN II, INC.’S MOTION IN LIMINE TO EXCLUDE TOM MORTLAND (ECF 184)
                                                4          Case No. 2:20-cv-01383-ART-BNW
        Case 2:20-cv-01383-ART-BNW           Document 192        Filed 03/31/25    Page 6 of 9




 1                                             ORDER
 2          IT IS SO ORDERED. Responses to National Fire’s Motion to Reopen Discovery To
 3   Allow Depositions of Two Individuals (ECF 185) and Pulte’s Motion in Limine To Exclude Tom
 4   Mortland as a Trial Witness (ECF 184) are due by April 14, 2025, and replies in support of the
 5   Motions are due by April 28, 2025.
 6

 7           3/31/2025
     DATED: ______________________
 8

 9
                                                UNITED STATES MAGISTRATE JUDGE
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          STIPULATION AND [PROPOSED] ORDER TO EXTEND BRIEFING SCHEDULE REGARDING
                   NATIONAL FIRE’S MOTION TO REOPEN DISCOVERY (ECF 185) AND
                PN II, INC.’S MOTION IN LIMINE TO EXCLUDE TOM MORTLAND (ECF 184)
                                                 5          Case No. 2:20-cv-01383-ART-BNW
         Case 2:20-cv-01383-ART-BNW                Document 192          Filed 03/31/25        Page 7 of 9




1                                      CERTIFICATE OF SERVICE

2          PN II, Inc. dba Pulte Homes and/or Del Webb v. National Fire & Marine Insurance Company, et al.
                         United States District Court, District of Nevada, Case No. 2:20-CV-01383
3

4            I HEREBY CERTIFY that on this 28th day of March 2025, a true and correct copy of

5    STIPULATION AND [PROPOSED] ORDER TO EXTEND BRIEFING SCHEDULE

6    REGARDING NATIONAL FIRE & MARINE INSURANCE COMPANY’S MOTION

7    TO REOPEN DISCOVERY (ECF 185) AND PN II, INC.’S MOTION IN LIMINE TO

8    EXCLUDE TOM MORTLAND (ECF 184) was served by electronically transmitting the

9    document(s) listed above to the e-mail address(es) set forth in the attached Service List:

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11
                                                                       Maricar De Los Reyes
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                                            CERTIFICATE OF SERVICE
                                                      1
       Case 2:20-cv-01383-ART-BNW            Document 192       Filed 03/31/25   Page 8 of 9




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       Case 2:20-cv-01383-ART-BNW        Document 192        Filed 03/31/25   Page 9 of 9




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